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                         IN THE UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                               WEST PALM BEACH DIVISION



   James Brandon,                                   CA No. 9:22-cv-81327-DMM

           Plaintiff,
                                                    MOTION TO RETAIN JURISDICTION TO
   v.                                               ENFORCE SETTLEMENT

   Paramount Recovery Systems, L.P.;
   Healthcare Revenue Recovery Group, LLC;
   Equifax Information Services, LLC; Experian
   Information Solutions, Inc.; and TransUnion,
   LLC.

           Defendants.

        Plaintiff James Brandon (“Plaintiff”), has given this Court notice that he settled his

  case against Defendant Experian Information Solutions, Inc. (“Defendant”). Because

  performance of the agreement has not been completed, Plaintiff asks the Court to retain

  jurisdiction over Defendant to enforce the terms of the settlement. Plaintiff requests the

  Court to retain jurisdiction for a period of (60) days, or a period the Court sees fit, to enforce

  the parties’ settlement.

                                    MEMORANDUM OF LAW

        The Court has authority to retain jurisdiction to enforce the parties’ settlement

  agreement. “If the parties wish to provide for the court’s enforcement of a dismissal-

  producing settlement agreement, they can seek to do so.” Kokkonen v. Guardian Life Ins.

  Co. of America, 511 U.S. 375, 381, 114 S.Ct. 1673, 1677, 128 L. Ed.2d 391 (1994).
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   Plaintiff certifies that counsel has conferred with counsel for Defendant regarding this motion

  pursuant to S.D. Fla. L.R. 7.1(a)(3) and Defendant does not oppose this motion.

   Dated:        October 28, 2022

                                              /s/Trescot Gear
                                             Gear Law, LLC
                                             1405 W. Swann Ave.
                                             Tampa FL, 33606

                                             Mailing Address
                                             McCarthy Law, PLC
                                             4250 North Drinkwater Blvd, Suite 320
                                             Scottsdale, AZ 85251
                                             Attorney for Plaintiff




                                  CERTIFICATE OF SERVICE

       I hereby certify that on October 28, 2022, I electronically transmitted the foregoing document

  to the Clerk’s Office using the ECF system for filing and transmittal of a Notice of Electronic

  Filing to all CM/ECF registrants of record in this matter.

                                            By: /s/ Trescot Gear




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